
IKUTA, Circuit Judge,
dissenting:
As a matter of California law, Thornton’s challenges, if successful, would necessarily demonstrate that a portion of his underlying sentence was invalid. Because the Supreme Court has held such challenges must be brought in a habeas petition, not under § 1983, I would affirm the district court. In holding otherwise, the majority misunderstands California law, misapplies Supreme Court precedent, and creates a circuit split with the Seventh Circuit.
I
In 2010, Thornton was convicted of robbery in California state court. He was sentenced under California’s determinate sentencing law, CaLPenal Code § 1170, to a two-year sentence for the robbery offense and a one-year consecutive term for a prior offense. See CaLPenal Code §§ 211, 213 (robbery), 667.5(b) (consecutive term). As required by California law, CaLPenal Code § 3000(b)(7), the California Department of Corrections and Rehabilitation (the CDCR) defined the term and conditions of Thornton’s parole, which included a GPS monitoring requirement and a residency restriction. Thornton challenged these conditions under 42 U.S.C. § 1983 on the grounds that they violated his First, Eighth and Fourteenth Amendment rights, and sought damages and injunctive relief.
A
Section 1983 provides that: “Every person who, under color of [state law], subjects, or causes to be subjected, any citizen of the United States or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or immunities *1265secured by the Constitution and laws, shall be liable to the party injured.” ■ 42 U.S.C. § 1983. Because Thornton claims that the CDCR, under color of California law, deprived him of his constitutional rights, the plain language of the statute seems applicable.
But beginning with Preiser v. Rodriguez, 411 U.S. 475, 93 S.Ct. 1827, 36 L.Ed.2d 439 (1973), the Supreme Court carved out “an implicit exception from § 1983’s otherwise broad scope for actions that lie “within the core of habeas corpus.’ ” Wilkinson v. Dotson, 544 U.S. 74, 79, 125 S.Ct. 1242, 161 L.Ed.2d 253 (2005) (quoting Preiser, 411 U.S. at 487, 93 S.Ct. 1827). In Preiser, the Court reasoned that “even though the literal terms of § 1983 might seem to cover” a claim, “because Congress has passed a more specific act,” namely the federal habeas statute, to cover state prisoners’ constitutional challenges to their convictions and sentences, prisoners bringing such claims are limited to habeas relief. 411 U.S. at 489, 93 S.Ct. 1827. The Court concluded that any prisoner complaint lying at “the core of habeas corpus” cannot be pursued under § 1983. Id.
Following Preiser, the Court decided a series of cases spelling out what actions lie within the “core of habeas corpus” and therefore cannot be brought in a § 1983 action. Dotson, 544 U.S. at 81-82, 125 S.Ct. 1242. Among other limitations, relief under § 1983 is not available for actions that would “necessarily imply the unlawfulness of a (not previously invalidated) conviction or sentence” or of “state confinement.” Id. at 81, 125 S.Ct. 1242 (citing Heck v. Humphrey, 512 U.S. 477, 481, 114 S.Ct. 2364, 129 L.Ed.2d 383 (1994) and Edwards v. Balisok, 520 U.S. 641, 648, 117 S.Ct. 1584, 137 L.Ed.2d 906 (1997)). Summing up, Dotson held that “a state prisoner’s § 1983 action is barred (absent prior invalidation) — no matter the relief sought (damages or equitable relief), no matter the target of the prisoner’s suit (state conduct leading to conviction or internal prison proceedings)- — if success in that action would necessarily demonstrate the, invalidity of confinement or its duration.” Id. at 81-82, 125 S.Ct. 1242. Applying these considerations in the parole context, Dotson then analyzed whether the prisoners’ challenges to certain parole procedures would necessarily challenge the fact or duration of their confinement. Id. Because the prisoners’ lawsuits, if successful, would, at most, give them a new parole hearing, Dotson determined their challenges did not necessarily imply the invalidity of their sentence or confinement under Heck, and therefore could proceed under § 1983. Id. at 82-84, 125 S.Ct. 1242.
B
Here, if Thornton were successful in his challenge to the parole conditions imposed by the CDCR, it would necessarily imply the invalidity of a portion of his sentence.
We must look to California law to determine what constitutes Thornton’s “sentence.” “States are independent sovereigns with plenary authority to make and enforce their own laws,” including the definition of crimes and punishments, “as long as they do not infringe on federal constitutional guarantees.” Danforth v. Minnesota, 552 U.S. 264, 280, 128 S.Ct. 1029, 169 L.Ed.2d 859 (2008); see also Muhammad v. Close, 540 U.S. 749, 754, 124 S.Ct. 1303, 158 L.Ed.2d 32 (2004) (looking to state laws governing the effect of prison disciplinary proceedings on good-time credits to determine whether a § 1983 claim was barred under Heck). Under section 3000 *1266of the California Penal Code, every sentence imposed on a defendant convicted under California’s determináte sentencing law, Cal.Penal Code § 1170, must include a period of parole. CaLPenal Code § 3000(a)(1) (“A sentence resulting in imprisonment in the state prison pursuant to Section 1168 or 1170 shall include a period of parole supervision or postrelease community supervision, unless waived, or as otherwise provided in’ this article.”) (emphasis added). To effectuate this statutory requirement, the CDCR “shall provide” the “conditions of parole and the length of parole up to the maximum period of time provided by law.” CaLPenal Code § 3000(b)(7);1 see also Kevin R. v. Super. Ct., 191 Cal.App.4th 676, 684, 120 Cal.Rptr.3d 549 (2010) (stating that “[t]he [CDCR] has expansive authority to impose any parole conditions deemed proper” in determining this part of a defendant’s sentence).
Because Thornton was sentenced under § 1170 for his 2010 robbery offense, his sentence necessarily included the term and conditions of parole set by the CDCR, CaLPenal Code §§ 3000(a)(1), (b)(7). In challenging his parole conditions, then, Thornton is challenging a statutorily-mandated component of his sentence, and if he is successful, it would necessarily imply the invalidity of a portion of his sentence. Therefore, under the rules explained in Dotson, he may not bring this challenge under § 1983. See Dotson, 544 U.S. at 81-83,125 S.Ct. 1242.
C
Accordingly, the majority errs in concluding that the discretionary conditions of the CDCR are not part of Thornton’s sentence. Maj. op. at 1262. The root of the majority’s error is its ill-founded attempt to distinguish between the fact of parole and its conditions. This is not a distinction that California courts have recognized. Under California law, a parolee in California is confined and “constructively a prisoner” because of the conditions of parole. People v. Lewis, 74 Cal.App.4th 662, 670, 88 Cal.Rptr.2d 231 (1999). The California Supreme Court has explained that “[although a parolee is no longer confined in prison his custody status is one which requires ... restrictions which may not be imposed on members of the public generally.” People v. Burgener, 41 Cal.3d 505, 531, 224 Cal.Rptr. 112, 714 P.2d 1251 (1986) (in bank). A parolee possesses “not ... the absolute liberty to which every citizen is entitled, but only ... the conditional liberty properly dependent on observance of special parole restrictions.” Lewis, 74 Cal.App.4th at 670, 88 Cal.Rptr.2d 231 (quoting Morrissey v. Brewer, 408 U.S. 471, 477, 480, 92 S.Ct. 2593, 33 L.Ed.2d 484 (1972)) (internal quotation marks omitted). In sum, California considers parole to be “custody” because of the conditions imposed on the parolee, so there is no basis to conclude that the fact of parole is part of a parolee’s sentence but parole conditions are not. See id.
Moreover, the majority’s attempted distinction is unworkable. The majority *1267holds that there is a difference between conditions that are essential to the “fact” of a parolee’s confinement (which cannot be challenged under § 1983) and' other conditions that are more analogous to “conditions” of confinement (which can be). Maj. op. at 1261-62. The majority acknowledges that “the line between conditions of confinement and the fact thereof may be ‘blurred’ in some cases,” maj. op. at 1261-62, but in doing so profoundly understates the difficulties of discerning which .parole conditions would fall on which side of the line, and why. Here, for instance, Thornton challenges the conditions allowing the CDCR to monitor all of his movements by means of a GPS tracker, and barring him from living in certain geographical areas. These constraints on Thornton’s physical movements are clearly akin to the “fact” of confinement, yet the majority asserts., that Thornton’s success on these claims “would not imply the invalidity” of his sentence. Maj. op. at 1262. The majority hints its determination is based “on the nature of specific conditions of parole,” maj. op. at 1262 n. 7, but does not explain why the nature of the specific conditions in Thornton’s case compels its conclusion. To make matters worse, the majority also suggests that Thornton’s challenge to two conditions can proceed under § 1983 because “nearly all of his parole conditions will remain in effect” even if Thornton is successful. Maj. op. at 1261; see also maj. op. at 1260 (emphasizing that Thornton challenges “just two parole conditions”); maj. op. at 1264 (same). The majority’s emphasis on the nature and number of challenged parole conditions is entirely arbitrary. Would Thornton have been barred from bringing a § 1983 action if he had challenged five parole conditions, instead of only two? If the “nature of specific conditions of parole,” maj. op at 1262 n. 7, is the key issue, how do we discern the nature of each condition, what differences in “nature” are important, and how do we weigh the import of these differences? The majority gives no answer.
District courts will have no idea what to make of the majority’s Delphic guidance as they confront § 1983 suits challenging various kinds and permutations of parole conditions. Indeed, the majority’s ruling will require the sort of case-by-case analysis that the Supreme Court recently rejected in' Skinner v. Switzer, where it advised courts not “to muddle the clear line Heck and Dotson drew” between challenges that could be brought under § 1983, and those that could not. — U.S.-, 131 S.Ct. 1289, 1298 n. 12, 179 L.Ed.2d 233 (2011).
Finally, the majority’s holding is inconsistent with the only other circuit to have considered this issue. See Williams v. Wisconsin, 336 F.3d 576, 578-79 (7th Cir.2003); Drollinger v. Milligan, 552 F.2d 1220 (7th Cir.1977). In Williams, the Seventh Circuit held that a parolee could not bring a § 1983 action to challenge a travel restriction imposed as a condition of his parole. 336 F.3d at 578-79. According to the court, because “the ‘conditions’ of parole are the confinement,” the parolee’s challenge to the travel restriction constituted a collateral attack on his parole, and had to be brought in a petition for habeas corpus. Id. at 579. In so holding, the Seventh Circuit relied on its earlier opinion in Drollinger, which held that a plaintiff in a § 1983 action could challenge her probation conditions (which under state law were part of her sentence) only by means of a habeas petition. Drollinger, *1268552 F.2d at 1225.2 The Seventh Circuit’s reasoning is directly on point here, and to be consistent with our sister circuit, we should apply the California parole statutes at face value and hold that Thornton’s challenges to the GPS requirement and residency restriction are likewise cognizable only in habeas.
II
In sum, Thornton’s challenges to his parole conditions would necessarily imply the partial invalidity of his sentence because parole is a required part of a determinate sentence in California. Therefore, his challenge cannot be brought under § 1983. I respectfully dissent from the majority’s conclusion to the contrary, which conflicts with Supreme Court precedent and sister circuit authority.

. Cal.Penal Code § 3000(b)(7) states, in pertinent part:
The Department of Corrections and Rehabilitation shall meet with each inmate at least 30 days prior to his or her good time release date and shall provide, under guidelines specified by the parole authority or the department, whichever is applicable, the conditions of parole and the length of parole up to the maximum period of time provided by law.
Thus, the CDCR has a mandatory statutory obligation to define the conditions and length of parole "under guidelines specified by the parole authority or the department.”


. The majority asserts that Drollinger is distinguishable because the conditions in that case were imposed "as part of a court judgment,” maj. op. at 1262. But the Supreme Court has not indicated that it would make any difference under Heck whether an agency, rather than a court, establishes the parole conditions that are imposed as part of a sentence under state law, and the majority does not explain why this is significant.

